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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                MIAMI-DADE DIVISION

In re: JAVIER MORZAN
                                                           Case No.: 20-18765-LMI
                                                           Chapter 7
Debtor(s).
___________________________

SUPPLEMENTAL FEE DISCLOSURE AND CERIFICATION OF SERVICE OF ORIGINAL
              REAFFIRMATION AGREEMENT ON CREDITOR

       Counsel for the Debtor(s), Kingcade & Garcia, P.A., pursuant to 11 U.S.C. § 329 and
Rule 2016 of the Federal Rules of Bankruptcy Procedure, hereby files this Supplemental Fee
Disclosure and Certification that Reaffirmation Agreement was mailed PNC Bank, NA on
August 26, 2020.
       1.     The Debtor has requested and believes that the following services, which are not
contemplated by the original fee agreement between the Debtor and the attorney for the Debtor,
are reasonable and necessary: Request, transmittal, review, negotiate and execution of
reaffirmation agreement with the following: PNC Bank, NA.
       2.     For these services, counsel for the Debtor(s), Kingcade & Garcia, P.A., has
received a fee of $150.00 and costs of $00.00. Kingcade & Garcia, P.A. has not agreed to share
the above – disclosed compensation with person(s) who are not members or associates of
Kingcade & Garcia, P.A.
       3.      Timothy S. Kingcade certifies that the executed reaffirmation agreement with
PNC Bank, NA. was mailed to PNC Bank, NA, POB 94982, Cleveland, OH 44101-4982 on
August 26, 2020.

                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing was sent, via CM/
ECF, on August 26, 2020 to the Assistant United States Trustee.
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CERTIFICATE PURSUANT TO                        KINGCADE & GARCIA, P.A
LOCAL RULE 9011-4(B)                           Counsel for the Debtor
                                               Kingcade Building
    I HEREBY CERTIFY that I                    1370 Coral Way ▪ Miami, Florida 33145-2960
am admitted to the Bar of the                  WWW.MIAMIBANKRUPTCY.COM
United States District Court for               Telephone: 305-285-9100 ▪ Facsimile: 305-
the Southern District of Florida               285-9542
and I am in compliance with the
additional qualifications to                   /S/Timothy S. Kingcade_______
practice in this Court set forth in            X Timothy S. Kingcade, Esq., FBN 082309
Local Rule 2090-1(A).                          □ Wendy Garcia, Esq., FBN 0865478
                                               □ Jessica L. McMaken, Esq., FBN 580163
